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                Hearing Date and Time: February 12, 2024 at 2:00 p.m. (Prevailing Eastern Time)
                Objection Date and Time: February 7, 2024 at 5:00 p.m. (Prevailing Eastern Time)
                            Reply Date: February 9, 2024 at 12:00 p.m. (Prevailing Eastern Time)

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Counsel and Special Insurance Counsel for the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:
                                                                         Chapter 11
    THE ROMAN CATHOLIC DIOCESE OF
    ROCKVILLE CENTRE, NEW YORK, 1                                        Case No. 20-12345 (MG)

                                     Debtor.


         AMENDED NOTICE OF HEARING ON THE OFFICIAL COMMITTEE OF
         UNSECURED CREDITORS’ MOTION FOR FURTHER DISCLOSURE AND
               RESPONSE TO DECLARATION OF ERIC P. STEPHENS

1
  The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four
digits of its federal tax identification number are 7437, and its mailing address is P.O. Box 9023, Rockville Centre,
NY 11571-9023.


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          PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (the

“Committee”) of The Roman Catholic Diocese of Rockville Centre, New York, the above-

captioned debtor and debtor in possession (the “Diocese” or the “Debtor”) filed a motion for entry

of an order requiring further disclosure and discovery related to the Diocese’s document review

and production process and responding to the Declaration of Eric Stephens [Docket No. 2880] (the

“Motion”).

          PLEASE TAKE FURTHER NOTICE that a hearing to consider the Motion will be held

before the Honorable Martin Glenn., United States Bankruptcy Judge, United States Bankruptcy

Court for the Southern District of New York , at the United States Bankruptcy Court for the

Southern District of New York, Courtroom 523, One Bowling Green, New York, New York,

10004 (the “Bankruptcy Court”) on February 12, 2024 at 2:00 p.m. (Prevailing Eastern Time)

(the “Hearing”), or as soon thereafter as counsel may be heard.

          PLEASE TAKE FURTHER NOTICE that the Hearing will be held via Zoom for

Government. Parties wishing to appear at the Hearing via Zoom for Government, whether making

a “live” of “listen only” appearance before the Court, must make an electronic appearance through

the Court’s website at https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl on or before

February 9, 2024, at 4:00 p.m (Eastern Time). After the deadline for parties to make electronic

appearances has passed, parties who have made their electronic appearance through the Court’s

website will receive an invitation from the Court with a Zoom link that will allow them to attend

the Hearing. Requests to receive a Zoom link should not be emailed to the Court, and the Court

will not respond to late requests that are submitted on the day of the Hearing. Further information

on the use of Zoom for Government can be found at the Court’s website at

https://www.nysb.uscourts.gov/zoom-video-hearing-guide.



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          PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

must be in writing, conform to the Federal Rules of Bankruptcy Procedure and the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the Southern District

of New York, be filed by February 7, 2024 at 5:00 p.m. (Prevailing Eastern Time), and shall

be served on (a) counsel to the Committee, Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue,

36th Floor, New York, New York Attn: James I. Stang, Esq., Karen B. Dine, Esq. and Brittany M.

Michael, Esq; (b) special insurance counsel to the Committee, Burns Bair LLP, 10 E. Doty Street,

Suite 600 Madison, WI 53703, Attn: Timothy W. Burns, Esq. and Jesse Bair, Esq., (c) counsel to

the Debtor, Jones Day, 250 Vesey Street, New York, New York 10281-1048 Attn: Corinne Ball,

Esq. Todd Geremia, Esq, Benjamin Rosenblum, Esq., Andrew Butler, Esq. Benjamin Thomson,

Esq.; and (d) William K. Harrington, U.S. Department of Justice, Office of the U.S. Trustee, 201

Varick Street, Room 1006, New York, NY 10014, Attn: Greg M. Zipes and Shara Cornell, Esq.

          PLEASE TAKE FURTHER NOTICE that any replies in support of the Motion must be

in writing, conform to the Federal Rules of Bankruptcy Procedure and the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the Southern District

of New York, be filed by February 9, 2024 at 12:00 p.m. (Prevailing Eastern Time), and shall

be served on (a) counsel to the Committee, Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue,

36th Floor, New York, New York Attn: James I. Stang, Esq., Karen B. Dine, Esq. and Brittany M.

Michael, Esq; (b) special insurance counsel to the Committee, Burns Bair LLP, 10 E. Doty Street,

Suite 600 Madison, WI 53703, Attn: Timothy W. Burns, Esq. and Jesse Bair, Esq., (c) counsel to

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Esq.; and (d) William K. Harrington, U.S. Department of Justice, Office of the U.S. Trustee, 201

Varick Street, Room 1006, New York, NY 10014, Attn: Greg M. Zipes and Shara Cornell, Esq.

          PLEASE TAKE FURTHER NOTICE that if no objections are timely filed and served

with respect to the Motion, the Committee may, on or after the objection deadline, submit to the

Bankruptcy Court an order substantially in the form of the proposed order annexed to the Motion,

which may be entered without further notice or opportunity to be heard.

          PLEASE TAKE FURTHER NOTICE that the Hearing may be continued or adjourned

thereafter from time to time without further notice other than an announcement of the adjourned

date or dates at the Hearing or a later hearing.

          PLEASE TAKE FURTHER NOTICE that any objecting parties are required to attend

the Hearing, and failure to appear may result in relief being granted upon default.


 Dated:       February 9, 2024           PACHULSKI STANG ZIEHL & JONES LLP


                                         /s/ Karen B. Dine
                                         James I. Stang, Esq.
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                                         Karen Dine, Esq.
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                                         Counsel for the Official Committee of Unsecured Creditors




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